Case 4:24-cv-00953-P          Document 68      Filed 01/28/25      Page 1 of 25      PageID 854



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                  Fort Worth Division

 OUTSOURCING FACILITIES
 ASSOCIATION, et al.

                Plaintiffs,

        v.

 UNITED STATES FOOD AND DRUG
 ADMINISTRATION, et al.
                                                   Civil Action No. 4:24-cv-953-P
                Defendants,

         and

 ELI LILLY AND COMPANY,

                 Intervenor-Defendant.


                                  AMENDED COMPLAINT

       Plaintiffs Outsourcing Facilities Association (“OFA”) and North American Custom

Laboratories, LLC, doing business as FarmaKeio Custom Compounding (“FarmaKeio”), by and

through undersigned counsel, allege as follows:

                                      Nature of the Action

       1.      At issue in this case is a reckless and arbitrary decision—lacking any semblance of

lawful process—by the Food and Drug Administration (“FDA”) to deprive patients of a vital

treatment for type 2 diabetes and obesity, two of the most common and harmful medical conditions

in existence. Tirzepatide, an active ingredient that treats those conditions, has been provided to

patients in large part through lawful drug compounding under the Federal Food, Drug, and

Cosmetic Act (“FDCA”). Compounding is the process by which a doctor, pharmacist, or licensed

outsourcing facility combines, mixes, or alters ingredients to create medicines tailored to patient
Case 4:24-cv-00953-P          Document 68        Filed 01/28/25       Page 2 of 25       PageID 855



needs. Congress determined that, when a drug is in short supply, compounding is an efficient,

effective, and appropriate means to ensure that patient treatment can occur, notwithstanding the

shortage. FDA placed Tirzepatide on the shortage list in December 2022, and since then, patient

demand has been satisfied in precisely the manner Congress contemplated: pharmacies and

outsourcing facilities—including Plaintiffs and their members—have compounded Tirzepatide to

meet a large segment of market demand.

       2.      But on October 2, 2024, FDA changed all that with a post to its website, abruptly

depriving patients of much needed treatment and artificially raising drug prices. Ignoring evidence

that the shortage persists, FDA removed Tirzepatide from the shortage list without notice, without

soliciting input from affected parties and the public, and without meaningful rationale. Indeed, the

agency confirmed that there remains a Tirzepatide shortage and that it acted to benefit special

interests, raise drug prices, and deprive much of the public of access to a needed medicine. The

only basis FDA offered for its declaration of victory over the shortage was the “stated product

availability and manufacturing capacity” of the drug’s manufacturer—the company that is self-

interested in monopolizing the market. The sole factual assertion FDA made concerning a shortage

was that it persists: “Patients and prescribers may still see intermittent localized supply disruptions

as the products move through the supply chain from the manufacturer and distributors to local

pharmacies.” Put simply, FDA knows its action will leave many patients with no effective

treatment but persisted with that action anyway on an expedited basis and without warning.

       3.      After Plaintiffs filed this suit and sought expedited temporary injunctive relief, FDA

promptly folded, and the parties jointly sought remand of the action to the agency for

reconsideration. On December 19, 2024, FDA provided notice of another determination (this time




                                                  2
Case 4:24-cv-00953-P          Document 68       Filed 01/28/25       Page 3 of 25       PageID 856



under seal in a confidential order) that Tirzepatide is not in shortage. This second decision cured

none of the infirmities plaguing the first.

       4.      If ever an agency action were arbitrary, capricious, and contrary to law, this is it.

The Administrative Procedure Act (APA) secures the foundational principle that “the Government

should turn square corners in dealing with the people,” just as regulated parties “must turn square

corners when they deal with the Government.” Dep’t of Homeland Sec. v. Regents of the Univ. of

California, 591 U.S. 1, 24 (2020) (citations omitted). Under the APA, FDA’s decision to remove a

drug from the shortage list is clearly a “substantive” rule, which means a rule that establishes legal

rights and duties. Because of the profound impact of substantive rules, the APA demands that

agencies undergo notice-and-comment rulemaking before promulgating them: an agency must

propose and give notice of its action in the Federal Register, solicit comments from interested

parties, and in its final decision explain its rationale and address the meaningful comments it

receives in a reasoned and transparent decision. Agencies across the massive federal bureaucracy

do these things every day of the week. But FDA skipped past every single requirement of reasoned

rulemaking when it declared the Tirzepatide shortage resolved—thereby depriving patients of

access to the compounded drug. This Court’s immediate intervention is essential to protect the

many patients who rely on compounded Tirzepatide and vindicate Congress’s insistence on

reasoned, informed rulemaking by federal agencies.

                                               Parties

       5.      Plaintiff Outsourcing Facilities Association (“OFA”) is a trade association

representing outsourcing facilities that engage in drug compounding under federal law, including

facilities that compound Tirzepatide. As explained below, all OFA’s members will be prohibited

from compounding Tirzepatide by the final agency action challenged in this case. OFA’s mission




                                                  3
Case 4:24-cv-00953-P         Document 68         Filed 01/28/25      Page 4 of 25       PageID 857



is to represent and advocate for the interests of outsourcing facilities and to educate the public and

policymakers about the essential services and products provided by outsourcing facilities.

        6.      Plaintiff North American Custom Laboratories, LLC, doing business as FarmaKeio

Custom Compounding (“FarmaKeio”), is a Texas limited liability company headquartered in

Southlake, Texas. FarmaKeio has been compounding Tirzepatide in compliance with federal law,

and its compounding activities are directly regulated by FDA. FDA’s final agency action in this

case restricts Tirzepatide compounding by FarmaKeio, as explained below.

        7.      Defendant FDA is a federal agency of the United States Government headquartered

in Silver Spring, Maryland. It is an agency for purposes of the APA and is subject to its

requirements.

        8.      Defendant Sara Brenner is the Acting Commissioner of Food and Drugs, is named

in her official capacity only, and was automatically substituted as a party pursuant to Fed. R. Civ.

P. 25(d).

                                        Jurisdiction and Venue

        9.      This Court has jurisdiction over Plaintiffs’ APA causes of action under 28 U.S.C.

§ 1331. Through the APA, the United States has waived sovereign immunity from this lawsuit. See

5 U.S.C. § 702.

        10.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(e) because

Plaintiff FarmaKeio resides in this district, as do certain members of Plaintiff OFA, and a

substantial part of the events or omissions giving rise to the claim occurred in this district, where

FDA’s final action is directly regulating Plaintiff FarmaKeio and OFA members and prohibiting

activity that was theretofore lawful.




                                                  4
Case 4:24-cv-00953-P         Document 68        Filed 01/28/25       Page 5 of 25       PageID 858



                                 Factual and Legal Background

       Congress Identifies Compounding as an Effective, Efficient, and Appropriate Means of
       Meeting Patient Need and Market Demand During Drug Shortages

       11.     “Drug compounding is a process by which a pharmacist or doctor combines, mixes,

or alters ingredients to create a medication,” typically one that is “not commercially available, such

as medication for a patient who is allergic to an ingredient in a mass-produced product.” Thompson

v. W. States Med. Ctr., 535 U.S. 357, 360–61 (2002). Compounding “is a traditional component of

the practice of pharmacy, and is taught as part of the standard curriculum at most pharmacy

schools.” Id. at 361 (internal citation omitted). “Many States specifically regulate compounding

practices as part of their regulation of pharmacies,” and “[s]ome require all licensed pharmacies to

offer compounding services.” Id.

       12.     Congress regulated drug compounding in two provisions of the Federal Food, Drug,

and Cosmetic Act (FDCA), Section 503A, 21 U.S.C. § 353a, and Section 503B, 21 U.S.C. § 353b.

       13.     Section 503A regulates pharmacy compounding. Compounding that meets the

requirements of this section is exempted from the FDCA’s new-drug approval requirement, as well

as certain drug-adulteration and branding standards. 21 U.S.C. § 353a(a). To qualify for Section

503A treatment, a drug must, inter alia, be compounded “on the prescription order for [an]

individual patient made by a licensed physician or other licensed practitioner authorized by State

law to prescribe drugs” or, if it occurs “before the receipt of a valid prescription order for such

individual patient,” it must be “based on a history of the licensed pharmacist or licensed physician

receiving valid prescription orders for the compounding of the drug product.” Id. § 353a(a)(2)(A)

and (B).

       14.     Section 503A authorizes compounding from “bulk drug substances,” which are

active ingredients typically of FDA-approved drugs, so long as the pharmacy “does not compound



                                                  5
Case 4:24-cv-00953-P         Document 68        Filed 01/28/25       Page 6 of 25      PageID 859



regularly or in inordinate amounts (as defined by the Secretary) any drug products that are

essentially copies of a commercially available drug product.” Id. § 353a(b)(1)(D).

       15.     Section 503B establishes a separate regime governing “outsourcing facilities” that

may compound drug products not based on existing prescriptions or a history of prescriptions if

numerous requirements are satisfied. Id. § 353b. Section 503B subjects outsourcing facilities to

registration, inspection, and reporting requirements and other regulations, see id. § 353b(a)(1) and

(b), and exempts from the new-drug approval process and other FDCA requirements “a drug

compounded…in a facility that elects to register as an outsourcing facility if each of” 11 conditions

are met, id. § 353b(a).

       16.     Central to the compounding regulations of Sections 503A and 503B is the drug

shortage list required by Section 506E. That section requires FDA to “maintain an up-to-date list

of drugs that are determined by the Secretary to be in shortage in the United States.” 21 U.S.C.

§ 356e(a). The provision requires that FDA identify for “each drug on such list” “[t]he name of the

drug in shortage,” “[t]he name of each manufacturer of such drug,” “[t]he reason for the shortage”

from an enumerated list of seven categories, and “[t]he estimated duration of the shortage as

determined by the Secretary.” Id. § 356e(b)(1)–(4).

       17.     A separate provision of the FDCA defines the term “drug shortage” to mean “a

period of time when the demand or projected demand for the drug within the United States exceeds

the supply of the drug.” Id. § 356c(h)(2). However, this definition does not apply by its own terms

to Section 506E and does not purport to restrict the scenarios of shortage cognizable under Section

506E to those where a manufacturer’s own supply does not meet national demand for an identified

time period. To the contrary, Section 506E identifies various scenarios of shortage, including based




                                                 6
Case 4:24-cv-00953-P          Document 68         Filed 01/28/25     Page 7 of 25      PageID 860



on “[d]elay in shipping of the drug,” id. § 356e(b)(3)(F), that do not turn on manufacturer supply

or national demand.

        18.     Section 506E does not identify procedures FDA must comply with in removing a

drug from the shortage list and does not displace default provisions of the APA governing FDA

action in removing drugs from the shortage list.

        19.     When a drug is on the shortage list, Section 503A pharmacies and Section 503B

outsourcing facilities are permitted to engage in compounding from its active ingredients that is

unlawful if the drug is not listed on the shortage list.

        20.     Under Section 503B, compounding from bulk drug substances (i.e., active

ingredients) is impermissible unless “the drug compounded from such bulk drug substance appears

on the drug shortage list…at the time of compounding, distribution, and dispensing” or,

alternatively, the bulk drug substance appears on a separate list of ingredients for which there is a

“clinical need.” Id. § 353b(a)(2)(A)(ii). FDA has narrowly construed the “clinical need” path to

bulk-drug compounding, such that an FDA-approved drug not in shortage will virtually never meet

the clinical-need standard. See Athenex Inc. v. Azar, 397 F. Supp. 3d 56 (D.D.C. 2019). As a result,

FDA will typically consider bulk drug compounding from the active ingredients of an FDA-

approved drug unlawful, unless the drug is listed on the shortage list.

        21.     A drug’s listing on the shortage list carries a second, independent consequence

under Section 503B. That section bars compounding of any kind of a drug that is “essentially a

copy of one or more approved drugs.” Id. § 353b(a)(5). But the statutory definition exempts from

the definition of “essentially a copy of an approved drug” any drug that “appears on the drug

shortage list…at the time of compounding, distribution, and dispensing.” Id. § 353b(d)(2)(A).

Consequently, if a drug appears on the shortage list, compounding of the drug will be permitted,




                                                   7
Case 4:24-cv-00953-P         Document 68        Filed 01/28/25       Page 8 of 25      PageID 861



even if it results in a drug that is essentially a copy of the FDA-approved drug. Otherwise,

essential-copy compounding is unlawful, even if the active ingredient appears on the clinical-need

list.

        22.    The effect of a drug-shortage listing is similar under Section 503A. As noted,

compounding “in inordinate amounts” of “any drug products that are essentially copies of a

commercially available drug product” does not qualify for protection under Section 503A. Id.

§ 353a(b)(1)(D). But FDA reads the term “commercially available drug product” not to include

drugs listed on the shortage list, since such drugs are by definition not commercially available. See

Food and Drug Administration, Compounding when Drugs are on FDA’s Drug Shortages List,

https://www.fda.gov/drugs/human-drug-compounding/compounding-when-drugs-are-fdas-drug-

shortages-list. As a result, Section 503A pharmacies may compound essential copies of FDA-

approved drugs that are on the shortage list.

        23.    FDA treats drug compounding that does not meet the standards of Section 503A or

503B as a violation of the FDCA. Violations are subject to penalties. See 21 U.S.C. § 331(d)

(prohibited acts); 21 U.S.C. § 332(1) (injunctions); 21 U.S.C. § 333 (penalties); 21 U.S.C. § 335a

(debarment). Accordingly, listing of a drug on the shortage list marks the difference between a

lawful business enterprise and a federal-law violation.

        24.    This scheme reflects a decidedly patient-focused orientation of compounding

restrictions under the FDCA and, specifically, Congress’s considered judgment that compounding

by pharmacies and outsourcing facilities is an efficient and effective means of ensuring patient

needs are satisfied when an FDA-approved drug is in shortage.




                                                 8
Case 4:24-cv-00953-P        Document 68        Filed 01/28/25      Page 9 of 25      PageID 862



       FDA Abruptly Declares Victory Over a Drug Shortage That Manifestly Persists Without
       Notice, Opportunity to Comment, or a Reasoned Decision

       25.     Tirzepatide is the active ingredient an FDA-approved prescription drug used for the

treatment of type 2 diabetes and for obesity, which is recognized in the medical field as a chronic

disease that results in substantial global morbidity and mortality. Tirzepatide is administered via

subcutaneous (i.e., under-the-skin) injections and is sold under the brand names Mounjaro for

diabetes treatment and Zepbound for weight loss.

       26.     Tirzepatide has been proven effective in treating weight loss in particular, and,

given the prevalence of this condition nationwide, the drug is in exceptionally high demand.

       27.     On or about December 15, 2022, FDA listed Tirzepatide injection on the Section

506E shortage list, noting 10 forms of Mounjaro and Zepbound injections that are in shortage.

       28.     The drug listing enabled pharmacies and outsourcing facilities to satisfy demand

and patient needs through drug compounding, including compounding of drugs that are essentially

copies of FDA-approved versions of Tirzepatide.

       29.     Numerous pharmacies and outsourcing facilities, including the compounder

Plaintiffs, compounded Tirzepatide under Sections 503A and 503B. From that point, a large portion

of market demand and patient need nationwide was satisfied by compounded forms of Tirzepatide

lawfully produced as Congress envisioned.

       30.     In fact, notwithstanding this effort, even after the FDA listing, demand for

Tirzepatide continued to go unsatisfied or saw delays in satisfaction. Patient needs have in this

entire timeframe gone unmet due to an ongoing shortage.

       31.     Various industry participants communicated with FDA, providing updates with

evidence of extremely high demand for Tirzepatide, scarcity in various regions and at the national

level, and delays in filling prescriptions. For the entire period during which FDA announced a



                                                9
Case 4:24-cv-00953-P        Document 68       Filed 01/28/25       Page 10 of 25       PageID 863



shortage of Tirzepatide, and at least through December 19, 2024, the agency was in actual or

constructive receipt of information demonstrating that supply continued to lag behind demand,

even at stark levels. On information and belief, additional information was available to FDA

demonstrating that supply continued to lag behind demand but was not considered because FDA

failed to engage in a meaningful inquiry.

       32.     Despite the ongoing shortage, FDA abruptly announced on October 2, 2024, that

“the shortage of tirzepatide injection, a glucagon-like peptide 1 (GLP-1) medication, has been

resolved.”

       33.     FDA first made this announcement around close of business Eastern Time, as the

Jewish holiday Rosh Hashanah began, through a posting on its website.

       34.     FDA provided no notice of this announcement before it took legal effect (i.e., before

the effectuation of delisting occurred). Market participants did not know before that moment that

compounding activities they were currently undertaking in reliance on the listing would

immediately become unlawful.

       35.     FDA provided no opportunity for public comment on whether to delist Tirzepatide.

       36.     By foregoing the public notice-and-comment process, FDA deprived regulated

parties and other interested persons of the opportunity to comment on the proposed delisting of

Tirzepatide and to provide probative information concerning the drug’s availability. At the same

time, FDA deprived itself of valuable information that would have been made available to it had

the agency solicited public comment.

       37.     In addition, FDA’s failure to follow the APA’s procedures deprived all interested

persons of a reasonable explanation for its decision. Among other things, FDA never addressed the

voluminous evidence that demand for Tirzepatide exceeds supply and that compounding




                                                10
Case 4:24-cv-00953-P       Document 68        Filed 01/28/25      Page 11 of 25      PageID 864



authorized by Sections 503A and 503B remains necessary for patient needs to be met and for

market demand to be satisfied.

       38.     In its public notice, FDA supported its decision on the merits with only a single

statement: “FDA confirmed with the drug’s manufacturer that their stated product availability and

manufacturing capacity can meet the present and projected national demand.” Ex. A at 1. From

this statement, it is clear that FDA’s sole consideration in deciding the shortage had ended was

information provided by the manufacturer of Tirzepatide.

       39.     While the FDCA requires FDA to consider information provided by a drug’s

manufacturer in addressing a shortage, it does not limit FDA to that information. To the contrary,

an agency required by law to engage in informed decision-making must consider all relevant

information at its disposal, not only information supplied by a self-interested market participant

whose production failings caused the shortage in the first instance and which has an overriding

incentive to make a one-sided presentation to the agency.

       40.     Further down in its notice, FDA offered a generic assertion that it typically

“considers a variety of factors, including the company's ability to meet current and historical

demand, the amount in a manufacturer’s stock, affected market share, ability of alternate

manufacturers to cover the demand, and confirmed market stabilization.” Ex A at 2. But the notice

says nothing of FDA’s findings (even at a high level) under any of those criteria (or any others)

concerning Tirzepatide. As noted, the sole case-specific assertion in the notice references FDA’s

singular reliance on communications with Tirzepatide’s manufacturer. This notice leaves the public

in the dark as to why FDA disregarded the overriding evidence of continued gap between demand

and that manufacturer’s supply or whether FDA even considered such evidence at all.




                                               11
Case 4:24-cv-00953-P        Document 68          Filed 01/28/25     Page 12 of 25       PageID 865



         41.   In fact, in the very next sentence, FDA refuted its own finding that the drug shortage

ended with the contrary warning: “Patients and prescribers may still see intermittent localized

supply disruptions as the products move through the supply chain from the manufacturer and

distributors to local pharmacies.” Ex. A at 1.

         42.   For each of the 10 Tirzepatide injections on the shortage list (and now removed),

FDA made the following finding (or a substantial equivalent):

               Even When A Medication Is Available, Patients May Not Always Be
               Able To Immediately Fill Their Prescription At A Particular
               Pharmacy. That Is Especially True For Refrigerated Products And
               Products With Multiple Dose Strengths, Due To Factors Like
               Ordering Practices And Incentives, Cold Chain Logistical
               Considerations, And Retailer Capacity Constraints. Patients May
               Experience Variability At A Particular Pharmacy Location
               Regardless Of Whether A Drug Is In Shortage.

Ex. B.

         43.   FDA’s express recognition that “supply disruptions” will continue to thwart patient

needs and leave market demand unsatisfied, and that patients may not always be able to

immediately fill their prescription, is a confirmation on the face of FDA’s notice that its

determination was arbitrary, capricious, and unsupported by anything but the self-interested

assertions of a market participant. FDA’s finding that “Factors Like Ordering Practices And

Incentives, Cold Chain Logistical Considerations, And Retailer Capacity Constraints” continue to

prevent supply from meeting demand confirms there is remains a shortage: those are the very

factors FDA claims to consider in deciding whether a shortage exists, so its findings that those

factors are preventing patient needs from being met is a finding that the shortage is ongoing.

         44.   FDA’s notice also reflects no consideration of the large segments of the market for

Tirzepatide that are served by compounded versions of the drug. FDA’s notice does not provide




                                                  12
Case 4:24-cv-00953-P        Document 68        Filed 01/28/25       Page 13 of 25       PageID 866



any reason for it to conclude that supply will match or exceed demand after compounded forms of

the drug are taken off the market.

       45.     FDA’s decision came one day after port workers across the eastern seaboard and

beyond—from Maine to Texas—commenced a labor strike that was projected to threaten imports

and raise prices of goods across economic sectors. An FDA representative involved in the decision

to delist Tirzepatide acknowledged to an OFA representative knowledge of the strike and of press

coverage stating that the strike threatened supply of critical drug components for manufacturers of

weight-loss drugs, including Tirzepatide. FDA’s notice, however, neither reflects consideration of

the strike nor provides a basis for the agency to believe the strike would not impact supply.

Although the strike has been resolved for the time being, FDA had no way to know the length of

the strike when it made its decision, and even a short strike is predicted to create continued supply

chain disruptions. Its failure to address this issue reflects lack of reasoned decision-making and

recklessness as to the true state of supply and demand in the market for Tirzepatide.

       46.     FDA’s notice contains no finding or even assertion establishing that patient needs

and market demand for Tirzepatide will be fulfilled beginning October 2, 2024.

       47.     FDA’s notice cites no evidence establishing that patient needs and market demand

for Tirzepatide will be fulfilled beginning October 2, 2024.

       48.     The very limited fact-related assertions related to Tirzepatide all suggest there is no

basis for FDA’s action deeming the shortage at an end, other than FDA’s black-box reliance on

manufacturer representation.

   FDA Abandons Defense of Its Decision but Reissues the Decision Without Notice,
   Opportunity to Comment, or a Reasoned Decision

       49.     After Plaintiffs filed the initial complaint in this lawsuit and sought a temporary

restraining order and preliminary injunction, FDA promptly abandoned its defense of the October



                                                 13
Case 4:24-cv-00953-P        Document 68       Filed 01/28/25       Page 14 of 25       PageID 867



2 action and sought remand to the agency for reconsideration. See ECF No. 27. This action by

FDA implicitly acknowledged that the October 2 delisting action could not fairly be defended

under the APA.

       50.     On December 19, 2024, FDA issued another decision (the “Delisting Action”)

declaring the shortage resolved. Exs. C, D. The December 19 decision stands on no firmer ground

than the October 2, 2024 decision.

       51.     The Delisting Action was not the product of notice-and-comment rulemaking. FDA

again provided no notice of the decision before it was issued. Market participants did not know

before that moment that compounding activities they were currently undertaking in reliance on the

listing would become unlawful.

       52.     FDA contends that the Delisting Action is not a substantive rule but the product of

informal adjudication. That is not so. The Delisting Action is generally applicable and affects the

rights of thousands of compounding pharmacies and outsourcing facilities. None of those persons

were “parties” to FDA’s supposed adjudication. The Delisting Action is prospective, not

retrospective, in nature: it declares rights and prohibitions going forward and does not make

findings as to the lawfulness of action already taken. FDA therefore had no prerogative to employ

information adjudication when the APA demands notice-and-comment rulemaking.

       53.     Even if the Delisting Action was the product of an adjudication, it is still invalid.

FDA’s creation and application of a new methodology to assess shortage status—disregarding all

demand satisfied by compounded supply, dismissing all evidence of unavailability, and accepting

the manufacturer’s representations without verification or cross-checking—is not an adjudicatory

application of an existing rule to the facts of a specific case. And FDA’s reliance on adjudication




                                                14
Case 4:24-cv-00953-P         Document 68        Filed 01/28/25       Page 15 of 25       PageID 868



instead of rulemaking constitutes an abuse of discretion because the Delisting Action bears all the

hallmarks of a rulemaking.

        54.     The Delisting Action is also arbitrary and capricious and divorced from reasoned

analysis.

        55.     The Delisting Action relied on information provided by the manufacturer that was

presented in arbitrary and erratic ways to obfuscate evidence of ongoing shortage. FDA failed to

apprehend or at least address the many ways in which the data indicate an ongoing shortage, and

it made findings incompatible with the very data presented.

        56.     The Delisting Action does not address basic parameters and premises necessarily

to interpret and organize data from the manufacturer, including the time period FDA believed

relevant, the supply available for that time period under a consistent reporting basis, or the demand

for that time period under a consistent reporting basis.

        57.     The Delisting Action irrationally fails to follow the legal standard for determining

shortage status it identifies as applicable.

        58.     Meanwhile, FDA arbitrarily disregarded the weighty evidence that pharmacies and

patients across the nation lack access to tirzepatide products. Its various explanations do not justify

its treatment of the evidence but rather betray a lack of evenhandedness and effort to achieve a

predetermined outcome.

        59.     FDA also discounted evidence that compounded Tirzepatide is meeting market

demand to a degree that the manufacture likely could not sustain if compounded products are

banned and/or restricted. FDA erroneously treated this demand as legally irrelevant and made plain

factual errors in assessing the degree of compounding at issue.




                                                  15
Case 4:24-cv-00953-P        Document 68        Filed 01/28/25      Page 16 of 25       PageID 869



       Plaintiffs Are Stifled in Their Efforts to Ensure Patients Receive Important Treatments
       at Reasonable Prices

       60.     Plaintiff FarmaKeio is a compounding pharmacy in Southlake, Texas that operates

under Section 503A.

       61.      FarmaKeio compounds Tirzepatide pursuant to Section 503A and in reliance on

Tirzepatide’s drug-shortage status. With Tirzepatide removed from the shortage list, FarmaKeio

will be unable to continue accepting prescriptions for Tirzepatide and filling them with

compounded Tirzepatide. FarmaKeio would continue accepting prescriptions and filling them with

compounded Tirzepatide but for FDA’s action.

       62.     Plaintiff OFA is a trade association representing outsourcing facilities registered

under Section 503B, including in this judicial district. All members of OFA are outsourcing

facilities that compound drugs within the Section 503B framework. Because FDA removed

Tirzepatide from the shortage list, and because Tirzepatide is not on the clinical need list, bulk

compounding of Tirzepatide will be categorically unavailable under Section 503B and thus

prohibited to all OFA’s members.

       63.     The compounded drugs produced by FarmaKeio and OFA’s members help meet

patient needs, fulfill market demand, and keep prices down.

       64.     Compounding by an outsourcing facility under Section 503B is expensive. OFA’s

members spent significant sums in sunk costs to support compounding operations. It can cost

hundreds of thousands of dollars and takes months of lead-in effort to begin compounding in

compliance with Section 503B. Additionally, an outsourcing facility experiences opportunity cost

from compounding operations, as manufacturing lines are devoted to compound a drug (here,

Tirzepatide) that can no longer be put to that use after the drug is removed from the list. It takes

additional investment and time before the same manufacturing lines can be converted to other uses.



                                                16
Case 4:24-cv-00953-P        Document 68       Filed 01/28/25      Page 17 of 25      PageID 870



          65.   FDA’s delisting of Tirzepatide will (if it stands) cause OFA’s members to fail to

capitalize on their investment. It will destroy their revenues, and those of FarmaKeio, from the

sale of compounded drugs that are in acute demand. Even if Plaintiffs prevail in this action, they

will be unable to recoup lost revenues or profits from the federal government.

          66.   OFA’s members and FarmaKeio intend to continue compounding Tirzepatide on a

prospective basis to continue meeting patient needs and market demand and would do so but for

FDA’s arbitrary and unlawful removal of Tirzepatide from the shortage list.

          67.   OFA’s members invested in technology, equipment, space, human resources, and

other assets in order to facilitate compounding Tirzepatide. Without court intervention or further

action by FDA, these investments will be wholly or partially impaired or adversely impacted.

          68.   The shortage of Tirzepatide continues. Without lawful compounding under Sections

503A and 503B, patient needs will not be fulfilled and market demand will not be satisfied.

Conditions treated by Tirzepatide will go untreated, resulting in further disease and increased

mortality rates.

                              FIRST CAUSE OF ACTION
          (Agency Rulemaking Without Requisite Notice, Comment, and Explained Decision)

          69.   The above paragraphs are hereby incorporated by reference as if set forth fully

herein.

          70.   The APA establishes a notice-and-comment rulemaking requirement that applies to

all agency rulemaking, with limited exceptions that do not apply here. 5 U.S.C. § 553.

          71.   Under the notice-and-comment process, an agency must issue a notice of proposed

rulemaking in the Federal Register with specified information (e.g., legal authority for the rule,

description of the rule), solicit public comments for a period not less than 30 days, and review

those comments. An agency must also respond to meaningful comments in its final rulemaking.



                                               17
Case 4:24-cv-00953-P        Document 68         Filed 01/28/25       Page 18 of 25      PageID 871



       72.      FDA’s decision to remove Tirzepatide from the shortage list is final agency action

that qualifies as an agency rule. A “rule” is defined to include “the whole or a part of an agency

statement of general or particular applicability and future effect designed to implement, interpret,

or prescribe law or policy.” 5 U.S.C. § 551(4). “[T]he APA defines the term ‘rule’ broadly enough

to include virtually every statement an agency may make.” Apter v. Dep’t of Health & Hum. Servs.,

80 F.4th 579, 590 (5th Cir. 2023). FDA’s Delisting Action meets this definition.

       73.      FDA’s Delisting Action is a “legislative” rule that is subject to the notice-and-

comment requirement because it “has the force and effect of law.” Perez v. Mortg. Bankers Ass’n,

575 U.S. 92, 96 (2015). Listing and removal mark the difference between a lawful compounding

business enterprise and one FDA considers unlawful and subject to severe penalties. Accordingly,

a delisting decision is a rule “affecting individual rights and obligations.” Chrysler Corp. v. Brown,

441 U.S. 281, 302 (1979).

       74.      FDA’s Delisting Action is not eligible for the exemption from notice-and-comment

requirements applicable to “interpretative rules, general statements of policy, or rules of agency

organization, procedure, or practice.” 5 U.S.C. § 553(b)(A). FDA’s Delisting Action is not

interpreting a legal provision, making a generic policy statement, or governing the agency’s

internal process. Rather, a delisting decision declares previously lawful activity, regarded by

Congress’s as beneficial, to be unlawful.

       75.      No provision of the FDCA “expressly” exempts FDA from the APA’s notice-and-

comment requirement, as is necessary for an organic statute to eliminate such a requirement. 5

U.S.C. § 559.




                                                 18
Case 4:24-cv-00953-P        Document 68         Filed 01/28/25       Page 19 of 25      PageID 872



          76.   FDA’s Delisting Action is not the product of adjudication. Even if the delisting

action is regarded as adjudication, FDA abused its discretion in utilizing adjudication for a matter

subject to the notice-and-comment-rulemaking requirement.

          77.   FDA did not engage in notice-and-comment rulemaking before issuing its final

decision removing Tirzepatide from the shortage list.

          78.   FDA’s final decision removing Tirzepatide from the shortage list is therefore

“contrary to law” and “without observance of procedure required by law” under the APA and must

be “set aside.” 5 U.S.C. § 706(2)(A), (D). FDA’s unlawful action entitles Plaintiffs to the relief

requested below.

                               SECOND CAUSE OF ACTION
                 (Lack of Reasoned Decisionmaking by Omission of Rationale
                          Sufficient to Explain Final Agency Action)

          79.   The above paragraphs are hereby incorporated by reference as if set forth fully

herein.

          80.   The APA obligates agencies to engage in reasoned decisionmaking and directs that

their actions be set aside if arbitrary and capricious. Dep’t of Homeland Sec. v. Regents of the Univ.

of California, 591 U.S. 1, 16 (2020). This includes requirements that agencies consider relevant

factors and provide an explanation for their final actions. Id. at 16, 20–24. This standard obligates

an agency to “examine the relevant data and articulate a satisfactory explanation for its action

including a rational connection between the facts found and the choice made.” Motor Vehicle Mfrs.

Ass'n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). Because the agency’s

disclosed bases for a final action supply the sole grounds on which it may be upheld in litigation,

a failure to provide sufficient grounds for the decision, standing alone, requires vacatur of the

decision and remand. Regents of the Univ. of California, 591 U.S. at 16.




                                                 19
Case 4:24-cv-00953-P         Document 68        Filed 01/28/25       Page 20 of 25      PageID 873



          81.   FDA’s sole basis for final action removing Tirzepatide from the shortage list was

its reliance on data provided by the manufacturer of brand-name Tirzepatide products. But that

data was presented in an arbitrary fashion that obfuscated evidence of a shortage.

          82.   FDA’s decision—the sole basis on which the Delisting Action could be upheld—

says nothing of key parameters necessary to determine whether supply satisfies demand for any

given time period. The decision does not identify what time period it considers relevant or how

supply and demand are properly reported. Nor does FDA provide any comparison between the

time period for which the shortage was declared resolved and the time period when the shortage

was first declared.

          83.   FDA’s failings to address the most basic parameters of its analysis enabled the

manufacturer to manipulate the analysis through inconsistent reporting and data lacking a

consistent baseline and presentation. FDA appears to have misunderstood the data at times.

          84.   FDA’s final decision removing Tirzepatide from the shortage list is therefore

“arbitrary and capricious” under the APA and must be “set aside.” 5 U.S.C. § 706(2)(A). FDA’s

unlawful action entitles Plaintiffs to the relief requested below.

                              THIRD CAUSE OF ACTION
   (Lack of Reasoned Decisionmaking by Arbitrary and Facially Contradictory Findings
               That Refute or Undermine the Basis of Final Agency Action)

          85.   The above paragraphs are hereby incorporated by reference as if set forth fully

herein.

          86.   The APA obligates agencies to engage in reasoned decisionmaking and directs that

their actions be set aside if arbitrary and capricious. Dep’t of Homeland Sec. v. Regents of the Univ.

of California, 591 U.S. 1, 16 (2020). This includes requirements that agencies consider relevant

factors and provide an explanation for their final actions. Id. at 16, 20–24. Because the agency’s

disclosed bases for a final action supply the sole grounds on which it may be upheld in litigation,


                                                 20
Case 4:24-cv-00953-P         Document 68        Filed 01/28/25       Page 21 of 25        PageID 874



a failure to provide sufficient grounds for the decision, standing alone, requires vacatur of the

decision and remand. Id. at 20–24.

          87.   A corollary of these principles demands that agency determinations be founded on

findings that are not themselves arbitrary and capricious. This principle forbids agencies to

predicate their actions on determinations that are facially incoherent or inconsistent.

          88.   Here, FDA’s decision is facially incoherent and inconsistent. Its findings of supply

contradict the data on which it purported to rely, and its finding that the shortage ended contradict

evidence of ongoing shortage, including in the manufacturer’s own data (properly construed). FDA

acted arbitrarily in discounting evidence presented by persons other than the manufacturer of

ongoing shortage.

          89.   FDA’s final decision removing Tirzepatide from the shortage list is therefore

“arbitrary and capricious” under the APA and must be “set aside.” 5 U.S.C. § 706(2)(A). FDA’s

unlawful action entitles Plaintiffs to the relief requested below.

                               FOURTH CAUSE OF ACTION
          (Arbitrary and Capricious Determination That Tirzepatide Shortage Ended)

          90.   The above paragraphs are hereby incorporated by reference as if set forth fully

herein.

          91.   The APA forbids arbitrary and capricious agency action.

          92.   FDA acted arbitrarily and capriciously in determining that the drug shortage has

ended in the face of overriding evidence that supply of Tirzepatide—including supply made

possible by compounding—cannot keep pace with demand.

          93.   Market participants presented FDA evidence that patient needs and market demand

for Tirzepatide is not satisfied by current supply, including supply made possible by compounding.

Additional evidence was available to FDA that patient needs and market demand for Tirzepatide



                                                 21
Case 4:24-cv-00953-P          Document 68       Filed 01/28/25       Page 22 of 25    PageID 875



is not satisfied by current supply, including supply made possible by compounding, had it engaged

in appropriate investigation. Information provided by the manufacturer, properly interpreted, lent

further support to evidence showing an ongoing shortage.

          94.     FDA, however, rushed out a decision declaring the shortage had ended based solely

(or primarily) on statements by the manufacturer that it can meet demand, despite substantial

probative evidence proving to the contrary, including the manufacturer’s own evidence.

          95.     FDA’s final decision removing Tirzepatide from the shortage list is therefore

“arbitrary and capricious” under the APA and must be “set aside.” 5 U.S.C. § 706(2)(A). FDA’s

unlawful action entitles Plaintiffs to the relief requested below.

                                  FIFTH CAUSE OF ACTION
                (Unlawful Interpretation and Application of Drug Shortage Statute)

          96.     The above paragraphs are hereby incorporated by reference as if set forth fully

herein.

          97.     Agency action must comply with the law Congress imposed on that agency. Agency

obligations under a statute are resolved through court determination of “the best reading of the

statute” without deference to the agency. Loper Bright Enterprises v. Raimondo, 144 S. Ct. 2244,

2266 (2024).

          98.     FDA’s decision rests on an erroneous reading of statutes. The FDCA requires FDA

to “maintain an up-to-date list of drugs that are determined by the Secretary to be in shortage in

the United States.” 21 U.S.C. § 356e(a). This provision enumerates various circumstances where

a shortage may arise, including a “[d]elay in shipping of the drug.” Id. § 356e(b)(3)(F).

          99.     FDA, however, looked to a different provision of the FDCA, addressing

manufacture shortage reporting for its definition of a shortage. Id. § 356c(h)(2). That section,




                                                 22
Case 4:24-cv-00953-P          Document 68        Filed 01/28/25      Page 23 of 25       PageID 876



however, defines “drug shortage” only “[f]or purposes of this section.” Id. § 356c(h)(2). It does

not purport to define the full scope of shortages or causes of shortage.

          100.   FDA erred in applying this overly restrictive definition. For example, it stated that

it would ignore inability of patients to obtain Tirzepatide without proof of a nationwide shortage

and that it would not treat supply chain disruptions as evidence of a shortage if wholesalers had

not entirely run out of Tirzepatide products. Nothing in Section 506E supports those

determinations.

          101.   Additionally, FDA stated that it would not consider portions of the demand satisfied

by ongoing compounding as part of the relevant demand on the basis that (1) only demand for the

brand-name (not compounded) product qualifies and (2) recipients of compounded products may

drop out of the market entirely after compounded products are banned or restricted, given the high

prices of brand-name Tirzepatide products. But shortage listing authorizes compounding of drugs

that are “essentially a copy” of approved drugs. 21 U.S.C. § 353b(a)(5); see also 21 U.S.C. §

353a(b)(1)(D). Moreover, the point of allowing essentially-a-copy compounding during shortages

is to enable compounded drugs to fill the demand the manufacture is not satisfying. Because

supply and demand always meet at price, this approach redefines demand as coterminous with

Lilly’s supply. This would defeat the purpose of a supply-demand inquiry.

          102.   FDA’s final decision removing Tirzepatide from the shortage list is therefore

“contrary to law” under the APA and must be “set aside.” 5 U.S.C. § 706(2)(A). FDA’s unlawful

action entitles Plaintiffs to the relief requested below.

                                 SIXTH CAUSE OF ACTION
                  (Unlawful Failure to Publish Decision in the Federal Register)

          103.   The above paragraphs are hereby incorporated by reference as if set forth fully

herein.



                                                  23
Case 4:24-cv-00953-P         Document 68         Filed 01/28/25     Page 24 of 25       PageID 877



        104.    The public information section of the APA obligates agencies to “publish in the

Federal Register… (D) substantive rules of general applicability adopted as authorized by law.” 5

U.S.C. § 552(a)(1)(D). This “was adopted to provide, inter alia, that administrative policies

affecting individual rights and obligations be promulgated pursuant to certain stated procedures so

as to avoid the inherently arbitrary nature of unpublished ad hoc determinations.” Morton v. Ruiz,

415 U.S. 199, 232 (1974)

        105.    FDA’s decision to remove Tirzepatide from the shortage list is a legislative rule: it

affects the individual rights of numerous market participants in a generally applicable manner, as

well as the interests of innumerable patients who need Tirzepatide for their treatment.

        106.    FDA did not publish its decision in the Federal Register.

        107.    FDA’s final decision removing Tirzepatide from the shortage list is therefore

“contrary to law” under the APA and must be “set aside.” 5 U.S.C. § 706(2)(A). FDA’s unlawful

action entitles Plaintiffs to the relief requested below.

                                              Prayer for Relief

        Plaintiffs respectfully asks that this Court enter judgment in their favor and that they be

granted the following relief:

        A.      Declare that FDA’s final action removing Tirzepatide from the drug shortage list is

                contrary to law under the APA, which subjects that action to notice-and-comment

                rulemaking procedures;

        B.      Declare that FDA’s final action removing Tirzepatide from the drug shortage list is

                arbitrary and capricious in violation of the APA;

        C.      Vacate and/or set aside FDA’s final action removing Tirzepatide from the drug

                shortage list on the grounds stated above;




                                                  24
Case 4:24-cv-00953-P       Document 68       Filed 01/28/25      Page 25 of 25      PageID 878



       D.     Permanently and temporarily enjoin FDA from taking action against Plaintiffs or

              their members for engaging in compounding of Tirzepatide that is lawful in

              circumstances where Tirzepatide is named on the drug-shortage list;

       E.     Award Plaintiffs their fees and costs related to this action, including reasonable

              attorneys’ fees; and

       F.     Grant such other and further relief as the Court deems appropriate.

 Dated: January 28, 2025                         /s/ Ty Doyle
                                                 TY DOYLE (Texas Bar No. 24072075)
                                                 BAKER & HOSTETLER LLP
                                                 811 Main Street, Suite 1100
                                                 Houston, TX 77002
                                                 (713) 646-1374
                                                 tgdoyle@bakerlaw.com

                                                 ANDREW M. GROSSMAN*
                                                 RICHARD B. RAILE*
                                                 RENEE M. KNUDSEN*
                                                 MARC N. WAGNER*
                                                 BAKER & HOSTETLER LLP
                                                 1050 Connecticut Ave., N.W., Suite 1100
                                                 Washington, D.C. 20036
                                                 (202) 861-1567
                                                 lrosebush@bakerlaw.com

                                                 * admitted pro vac vice

                                                 Attorneys for Plaintiffs




                                              25
